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                             D. STATEMENT OF CLAIMS

                                            Introduction

   1.     COMES NOW, Tiffany Grays, (“Plaintiff” or “she” or “her”) makes claims against

   Defendants: Auto Mart USA, LLC; Auto Mart; Auto Mart USA2; Auto Mart Mitsubishi;

   (“AUTO” or “Auto Mart USA” or “Defendants”) Jorge Pacheco; Daniel Ramirez, Mohammed

   Al-Abssi a/k/a Mike Abssi, JB Ovalle; Donnie McElroy; Marco Sandoval; Majed Barbar Amin.

   a/k/a Majed Barbaramin a/k/a Jay Barbaer, collectively or (“Auto Defendants”); and Blackhawk

   Acquisition, LLC; d/b/a ProMax LLC.; d/b/a Dealer Marketing Services collectively

   (“ProMax”); in accordance with the Fair Credit Reporting Act, 15 U.S.C. Sections 1681 et seq.

   (“FCRA”); Equal Credit Opportunity Act of Title VII; the Federal Truth In Lending Act; 15

   U.S.C. §7001 et seq.;, Fed. R. Civ. P.C.R.P. 57;, Fed. R. Civ. P. F.C.R.P. 9;, Electronic

   Signatures in Commerce; the Duties of Furnishers of Information to Consumer Reporting

   Agencies Ru1e, 16 C.F.R. C 660, section 623(e)(l) of the FCRA, 15 U.S.C. § 1681s-2(e)(1),

   recodified as Duties of Furnishers of Information, 12 C.F.R. § 1022, subpart E;, Obligations of

   Resellers; Obligations of Users under FCRA; and multiple Colorado Constitution Violations.

   Plaintiff brings this action as a result of Auto the Defendants’ inter alia, fraudulent behavior and

   misrepresentations, luring the Plaintiff with knowingly false advertisements of “… [A]sk About

   Our Credit Approval Guaranteed,;” and “… Guaranteed Credit Approval,” vehicles posted

   online for sale, with known, undisclosed salvaged titles; failing to disclose changes in contract

   terms, during sale, upon notification and culminating with disparate treatment; denying the

   Plaintiff’ss’ loan absent business reason. Auto Defendants use ProMax’s services and



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   applications to inflict the harm stated; but for ProMax, Auto Defendants would never had

   opportunity to injure Plaintiff. As a CRA, User, Furnisher, and Reseller of consumer credit

   reports, ProMax holds multiple duties to correct said errs of Auto Defendants. When notified

   ProMax has remained silent and inactive; while possessing implicit instruction into actions,

   exaggerating and exasperating pro se Plaintiff’s injuries. Auto Defendants required the Plaintiff

   to return the vehicle, despite the “gGuarantee(d)” of the Defendants, by the Defendants. This

   action due to the Plaintiff standing up to all five men involved in the sale; not letting the men run

   the negotiation and requiring AUTO’s financial commitment to a 12-month warranty, as a dark-

   skinned woman. Plaintiff seeks injunctive relief, damages, restitution in her favor and penalties,

   against the ProMax and Auto Defendants, regarding the Auto Defendants’ discriminatory,

   fraudulent, and intentionally false, soft credit-check promises, bad faith, non-compliant and

   unlawful practices during the purchase and eventual return of a 2013 Dodge Journey on or about

   March 20, 2018 and ProMax’s complicity through willful inaction.. ProMax and Auto The

   Defendants’ actions have caused multiple injuries to the Plaintiff; ,including inter alia, consumer

   credit score damage, mental and emotional distress, and financial losses. Thus, scienter exists.

   Plaintiff incorporates her original, First and Second Amended Complaints herein by reference.



                                JURISDICTION & VENUE

   2.     Jurisdiction of this Court is maintained through the FCRA, and 28 U.S.C. § 1355(a).

   Additionally, this Court has declaratory jurisdiction pursuant to 28 U.S.C. §2201. Claims for

   relief that are based on the Colorado Constitution, have the same nucleus of operative facts and




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   are so related to the federal-law claims that they form part of the same case or controversy. This

   Court has jurisdiction over the supplemental state-law claims pursuant to 28 U.S.C. § 1367.



   3.     Venue is proper in the District of Colorado pursuant to 28 U.S.C.A. § 1391(a), due to a

   substantial part of the events or missions giving rise to the claims in this matter occurred in the

   State of Colorado and in accordance with 15 § U.S.C. 1640(e).



                                              PARTIES

   4.     Plaintiff is an individual over the age of 18 who resides in Aurora, Colorado. Plaintiff

   conducted all business transactions with the Auto Defendants in Aurora, Colorado.



   5.     Defendants Auto Mart USA, LLC; Auto Mart; and Auto Mart USA2; and Auto Mart

   Mitsubishi;, collectively (“AUTO”), with registered address of 835 S Havana St. Aurora CO,

   80012 United States; is an American corporation in automobile sales which, at all times relevant

   herein, as licensed to do business and was conducting business, in the State of Colorado. AUTO

   engaged its business operations from its principal place of business on 835 S Havana St. Aurora

   CO, 80012 United States. AUTO has a registered agent, Daniel Ramirez, within the state of

   Colorado at 835 S Havana St. Aurora CO, 80012 United States. The Defendant regularly

   engages in sales and credit and must comply at all times with State and Federal Laws.



   6.     Defendant Daniel Ramirez, as of July 09, 2018, does not hold an active Colorado

   Department of Revenue, Motor Vehicle Salesperson license, associated with AUTO MART



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   USA. At the time of the alleged offenses Daniel Ramirez was an employee of Auto Mart USA

   and is being named in his official capacity as Operations Manager and as an individual. Mr.

   Ramirez participated in the unlawful events after the unlawful sale and is ultimately responsible

   for the disparate treatment. Mr. Ramirez is being named in his individual and professional

   capacities.



   7.      Defendant Jorge Pacheco as of July 09, 2018, according to Colorado Department of

   Revenue website, does not hold an active Colorado Department of Revenue, Motor Vehicle

   Salesperson license, associated with AUTO MART USA. At the time of the alleged offenses

   Jorge Pacheco was an employee of Auto Mart USA and is being named in his official capacity as

   Sales Consultant and as an individual. Mr. Pacheco participated from initiation of the unlawful

   sale and ultimately sold the vehicle to the Plaintiff, as well as, the luring the Plaintiff with the

   salvaged title performance.



   8.      Defendant JB Ovalle as of July 09, 2018, does not hold an active Colorado Department of

   Revenue, Motor Vehicle Salesperson license, associated with AUTO MART USA. At the time

   of the alleged offenses JB Ovalle was an employee of Auto Mart USA and is being named in his

   official capacity as Sales Consultant and as an individual. Mr. Ovalle participated in the unlawful

   sale of the vehicle through luring the Plaintiff with salvaged title performance. Mohammed Al-

   Abssi a/k/a Mike Abssi is the owner of AUTO located at 835 S Havana St. Aurora, CO. 80012.

   Mr. Abssi conducted investigation into Plaintiff’s claims and the conduct of Auto Defendants’

   with regards to Plaintiff’s claims. As the owner, Mr. Abssi is not only responsible for the




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   conduct of his employees, but is responsible for making key business decisions, including but not

   limited to advertisements, third-party service providers, sales, hiring, firing, disciplinary actions;

   ultimately all decisions regarding or affecting the business, Auto Mart USA LLC. Mr. Abssi is

   being named in his individual and professional capacities.



   9.     Defendant Marco Sandoval holds an active Colorado Department of Revenue, Motor

   Vehicle Salesperson license # 31639, associated with AUTO MART USA and was an employee

   of Auto Mart USA, at the time of the alleged offenses. Marco Antonio Sandoval is being named

   in his official capacity as General Manager and as an individual. Mr. Antonio participated in the

   unlawful sale of the vehicle and the unprofessional and unlawful events after the unlawful sale.



   10.    Defendant Donnie McElroy holds an active Colorado Department of Revenue, Motor

   Vehicle Salesperson license # 22175, associated with AUTO MART USA and was an employee

   of Auto Mart USA, at the time of the alleged offenses. Donnie McElroy is being named in his

   official capacity as Sales Manager and as an individual. Mr. McElroy participated in the sale of

   the vehicle and the unprofessional and unlawful events after the unlawful sale.



   11.    Defendant Majed Barbar Amin. a/k/a Majed Barbaramin a/k/a Jay Barbar, Jay Barber

   does not hold an active Colorado Department of Revenue, Motor Vehicle Salesperson license,

   associated with AUTO MART USA and was an employee of Auto Mart USA, at the time of the

   alleged offenses. Jay Barbaer is being named in his official capacity as F&I/Marketing Manager




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   and as an individual. Mr. Barbaer participated in the denial of credit and fraudulent statements

   provided in the adverse action notice.



   12.     Defendant Blackhawk Acquisition, LLC.; d/b/a ProMaxAll; d/b/a ProMaxUnlimited;

   d/b/a ProMax; d/b/a Dealer Marketing Services Inc., collectively (“ProMax”), a Foreign Limited

   Liability Company, with a principal office located at 221 W. 6th Street, Suite 1030, Austin, TX

   78701. Defendant ProMax is registered to conduct business in the State of Colorado and at all

   times must comply with State and Federal laws. As a self-admitted “reseller of all three major

   bureaus for the past 20 years.” Defendant ProMax held sufficient knowledge and information

   which supports comprehension and definition of the term soft inquiry and pre-qualification.

   Without expressed consent to do so, Defendant ProMax willfully and recklessly permitted

   inquires against the Plaintiff’s consumer credit report and did so when the information presented

   did not match the Plaintiff’s private information. ProMax heedlessly and recklessly colludes with

   Auto Defendants in by posting and/or allowing fraudulent misrepresentations to be posted upon

   the website which ProMax administers, yet Auto Defendants provide direction and approval of

   said changes. ProMax Defendants are not only considered consumer reporting agencies, but also

   considered users, furnishers, and resellers of consumer reports and information. ProMax failed to

   act when notified of the unlawful inquiries upon the Plaintiff’s consumer reports with multiple

   consumer reporting agencies, thus through inaction have become complicit in Auto Defendants’

   infliction of injuries upon the Plaintiff.




                                          BACKGROUND

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   132.   Plaintiff re-alleges the preceding paragraphs set forth above and incorporate them herein

   by reference, inter alia.

   143.   The Plaintiff set out 2018 with a goal of purchasing a home within the year. The Plaintiff

   enrolled in an expensive credit repair program, to assist in accomplishing this goal. The Plaintiff

   made a concerted effort to ensure the checks run against her credit, were not going to damage it,

   as the 2018 goal is to purchase the home. The Plaintiffs’ career in Software Product

   Management, and moving residences, adds an additional value on her consumer report, as jobs

   over $100,000, often require credit checks. Credit is incredibly important to both moving to

   another rental or buying a home.



   154.   Ms. Grays was making great progress towards improving her score, to buy that home. In

   March 2018 her score was rising, almost where she needed it to be, to qualify for a home

   mortgage. Due to Defendants unlawful and unethical ten hard inquires, Plaintiffs’ credit score

   has plummeted about seventy-five points in just two months. The Plaintiff has wasted money,

   time and energy repairing her credit, only for AUTO to ruthlessly and recklessly damage it. The

   true cost has yet to be determined and will likely take years to determine.

   165.   Ms. Grays has been a single mother of 2 daughters for the past 12 years, Auto Mart’s

   unprofessional and unethical conduct has only caused more damage to members of the

   household. Taking time and energy away from her children, when she already has limited

   amount, to deal with the willful and wanton conduct of the Defendants. The Plaintiff prays this

   action will prevent the Defendants’ unlawful conduct from negatively affecting other innocent

   consumers residing within the State of Colorado.




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   176.   Prior to the Plaintiff attempting to purchasing a vehicle at AUTO, the Plaintiff has

   purchased vehicles from several dealerships. Some have been financed, outsourced and others

   have been financed in-house. The Plaintiff could not determine if AUTO was one or the other,

   which is why the Plaintiff continued to confirm the type of credit check being conducted. To the

   Plaintiffs’ knowledge, when a soft credit check is done, those do not require outside financing,

   indicating financing in-house. Which would support the Defendants’ “[A]sk About Our Credit

   Approval Guaranteed.” The Plaintiff was told to bring her payments into the physical location,

   which also supports in-house financing, only requiring a soft credit check.



   187.   The Plaintiff confirmed AUTO was only submitting soft credit checks with Jorge

   Pacheco, Donnie McElroy and Marco Sandoval, multiple times, each person; before, during and

   after the sale. The Plaintiff was concerned about the damage to her credit. The Defendants’ knew

   they were not conducting soft credit checks, as indicated on recorded call with Sales Manager

   Donnie McElroy. Donnie states, all the hits add up as one and after a couple months stop

   impacting the score. A soft check would not impact the score, thus, fraudulently misleading the

   Plaintiff from the beginning of the sale. These licensed salesmen also go through rigorous testing

   and understand the differences in types of checks against consumer credit reports.



   198.   This has been a tumultuous few months for the Plaintiff. The negligence exhibited by

   Auto DefendantsUTO has negatively impacts the Plaintiffs’ credit, emotional health, personal

   goals and life. The Plaintiff created a review on google which recounted the events and has been




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   liked by other shoppers in the area. There are other reviews on Google which echo similar stories

   as the Plaintiff, of salesmen worried about the sale and practicing unethical, unprofessional

   behavior openly, mixed in with good reviews. It appears the sales people at AUTO have good

   days and bad days, the Plaintiff, unfortunately caught a bad day. The Defendants were motivated

   by monetary gains, and disgorgement of the same measure should be induced.



   2019. Plaintiff has contacted Defendants multiple times in attempt to resolve this issue, to no

   avail. Ms. Tiffany Grays contacted AUTO on or about March 17 th, 2018, regarding the purchase

   of a used vehicle, a Mitsubishi Outlander which the Plaintiff viewed online within her price

   range of around $16k.



   210.    Prior to the Plaintiff stepping foot onto the property, the salesman at AUTO pounced onto

   her wallet. The Plaintiff received a text message from JB Ovalle, regarding the Outlander,

   asking, “[W]hen would you like to come in for a test drive?” Failing to note the salvaged title.



   221.    The Plaintiff then calls AUTO and speaks with someone about the Outlander, to confirm

   if it is still available, before travelling. The salesperson confirms the vehicle is still available, and

   schedules an appointment. Plaintiff also asked about the “[A]sk About Our Credit Approval

   Guaranteed,” and was advised everyone gets approved, before making the trip to AUTO.



   232.    Jorge knowingly then texts the Plaintiff, after the Plaintiff has spoken with a different

   salesman, attempting to undercut his co-workers, and says to “[a]sk for Jorge Pacheco (“Jorge”),




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   when [the Plaintiff] arrive[s].” Additional examples of the deceitful, dishonest behavior tolerated

   and exhibited at Auto Mart USA.



                                 FACTUAL ALLEGATIONS

   243.    Plaintiff re-alleges the preceding paragraphs set forth above and incorporate them herein

   by reference, inter alia.

                                        a. Deceptive Practices
   254.    On or about March 17th, 2018, as soon as the Plaintiff drives her current vehicle onto the

   Auto Mart parking lot, an older Caucasian saleswoman hangs around the Plaintiffs’ vehicle, until

   the Plaintiff exits her vehicle; when she finishes a phone call, about 15 minutes. This makes the

   Plaintiff uncomfortable, upon arrival at 835 S Havana St. Aurora CO, 80012. The Plaintiff is

   with her 12-year-old daughter, as they head into the sales floor.



   265.    Jorge is the first to greet the Plaintiff, so she decides to work with him. Jorge immediately

   takes all the Plaintiffs’ paperwork and begins to enter information into his computer. Jorge then

   hands the Plaintiff a 7-field simple, non-formal credit application, as a soft credit check

   application, and asks the Plaintiff to complete the fields. The Plaintiff fills out in the fields and

   gives it back to Jorge. Plaintiff confirms before and after with Jorge that the check is soft.



   276.    After about 15 minutes of casual conversation and the Plaintiff re-verifying the use of a

   soft credit check, Jorge motions to the Plaintiff that it is time to look at vehicles. Jorge, the




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   Plaintiff and child exit the building, Jorge then tells the Plaintiff, the vehicle she texted about,

   called about, travelled about, filled out paperwork about, has a salvaged title.



   287.    The Plaintiff felt taken advantage of by many different people. As multiple people with a

   duty to disclose should have told her, but consciously decided to omit legally required

   information. Luring the Plaintiff onto the premises, just to attempt to complete a sale.



   298.    The Plaintiff expressed her frustration and Jorge apologized. Jorge showed the Plaintiff a

   vehicle that was not appealing. Similarly, the second vehicle shown, was not up to standard.

   Expressing her lack of patience, salesman and Assistant Manager, Donnie McElroy (“Donnie”),

   over hears the Plaintiffs’ angst and offers assistance.

   3029. Jorge and Donnie have a short conversation before bringing the vehicle that is chosen by

   the Plaintiff. The 2013 Dodge Journey is fully loaded, a little over price range, but fun to drive.

   The Plaintiff talks numbers with Jorge.



   310.    Jorge commits the vehicle will have a warranty for an additional 17 months or to 100,000

   miles. The Plaintiff and Jorge go back and forth over trade in value of the Plaintiffs’ 2008

   Dodge Durango. Ultimately, the following terms are settled upon:



                           A. $2,000 Trade-In Allowance
                           B. $16,990 For the 2013 Dodge Journey
                           C. 17-month or to 100,000 miles warranty




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   321.    Jorge begins printing all the paperwork required to purchase the vehicle. The Plaintiff

   confirms again, with Jorge, that Jorge only ran a soft credit check, Jorge confirms. The signing of

   the paperwork begins, when the Plaintiff and Jorge arrive at a document stating there is not a

   warranty on the vehicle, the Plaintiff stops and refuses to sign that document.



   332.    Jorge attempts to reassure the Plaintiff verbally that the vehicle has a warranty, urging the

   Plaintiff to just sign it. The Plaintiff refuses, as she knows it needs to be in writing. After

   rejecting Jorge’s’ forceful attempts multiple times, Jorge relents. Jorge asks the Plaintiff if

   verification of the warranty via printed Carfax report, would suffice; the Plaintiff agrees.



   334.    Upon printing the Carfax, Jorge does not immediately provide the report to the Plaintiff.

   Jorge acts suspiciously, as he wants to continue signing the rest of the paperwork and come back

   to the warranty document last. After conferring again with Sales Manager Donnie, Jorge finally

   reveals the vehicle does not have a warranty, according to the Carfax report. Jorge attempts to

   save the sell by stating the Finance Manager will discuss the warranty with the Plaintiff at the

   next step in the process.



   354.    The warranty document remains unsigned as the Plaintiff is transferred to the Finance

   Manager, Marco Sandovals’ (“Marco”), office. Marco also wants to proceed signing other

   paperwork without addressing the warranty. When Marco comes to a different document that

   states no warranty, the Plaintiff again refuses to sign.




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   365.    The Plaintiff advises Marco, of Jorge’s promises to her regarding the vehicle warranty.

   Marco argued with the Plaintiff. After a few minutes of arguing with the customer, Marco

   advises the Plaintiff, that the vehicle does not have a warranty, and will not have one, so take it

   or leave it.



   376.    The Plaintiff decides to leave the offer and leaves the office requesting all of her

   paperwork and $1000 check. As the Plaintiff and child stand by the front door of the business,

   Jorge hands the Plaintiff her paperwork. The Plaintiff attempts to leave, but notices the $1000

   check is missing. 15 minutes elapse while multiple salespeople go in and out of Marcos’ office,

   attempting to save the sale.



   387.    While standing by the front door waiting on the $1000 check, a man introduces himself to

   the Plaintiff, only as Steve. Steve initially offers a 3-month warranty, which the Plaintiff rejects.

   Steve comes back with 12-month warranty, and the Plaintiff accepts.



   398.    The Plaintiff, back in Marco’s office, forces Marco to write the 12-month warranty on a

   document entitled, ‘We Owe, You Owe.” Marco reluctantly includes the 12-month warranty and

   the issue with the wipers on the document.


                                    b. Funds & Goods Return

   4039. On March 20, 2018, late in the afternoon, Donnie calls the Plaintiff and advises AUTO

   was unable to get her financed, and bring the vehicle back. The Plaintiff asks to return the




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   vehicle the next day, as the Plaintiff was just terminated from her job. Donnie refuses and forces

   her to bring it back that night, failing to show the “heart,” they say they have or to treat the

   Plaintiff as “family.” The Plaintiff complies.



   410.   Around 7pm on March 20th, the Plaintiff returns the 2013 Dodge Journey to the

   Defendants business on Havana St. Upon arrival, Donnie has the Plaintiffs’ Rollback Form,

   indicating the return of the vehicle. There is an error on the form, as it indicates no deposit.

   Donnie, corrects this and both Donnie and the Plaintiff initial the correction. It is unclear if the

   act of omitting the $1000 was intentional or unintentional, as the deposit is noted on all

   paperwork.



   421.   Donnie advises Plaintiff the person who has access to the checks, left and the Plaintiff

   will have to come back the next day to receive her personal check back. The Plaintiff voices her

   frustration, as Donnie was aware the Plaintiff was bringing the vehicle, and should have procured

   her payment. The Plaintiff confirms again with Donnie, the credit check was only a soft credit

   check, Donnie affirms.

   432.   On or about March 23rd, the Plaintiff returns to retrieve her payment and have the oil in

   her Dodge Durango changed, using the free oil change coupon she received during the purchase.

   The Plaintiff notifies the secretary that she is picking up her payment.



   443.   A man named Jay Barbaer (“Jay”), approaches the Plaintiff and advises that Jay needs

   proof that the money came out before AUTO can return the money. The Plaintiff shows the




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   $1,000 deduction from her Key Bank checking account, showing the date, showing the

   withdrawal amount before and after, from the official banking app on the Plaintiffs ‘cell phone.



   454.   Jay confirms, leaves, then returns 5 to 10 minutes later to inform the Plaintiff that AUTO

   needs a screenshot of the Plaintiffs’ private personal account information as proof. The Plaintiff

   questions this request, as this request is abnormal of any business and will contain information

   that is unrelated to this matter, to which the Plaintiff is uncomfortable. The Plaintiff waited 3

   business days after Sales Manager Donnie advised the Plaintiffs’ check would be available.

   AUTO has now deposited the check, instead of returning the check as discussed, and wants to

   invade the privacy of the Plaintiff due to operational issues. Jay Barbaer’ss’ request is absurd,

   and indicative of the business operations being conducted at Auto Mart USA.



   465.   The Plaintiff initially refused Jays’ request, as the Plaintiff does not want other private

   information, having no correlation to the $1000 check, within the screenshot. Similarly, the

   banking app does not allow screenshots to be taken, for privacy and security reasons.

   Reluctantly, the Plaintiff allows Jay to take a picture of the proof with his personal cell phone.

   Due to the escalation of the situation, Donnie had come over to assist. At which time, the

   Plaintiff again asks Donnie to confirm if only a soft credit check was performed.

   476.   Donnie takes the opportunity to ask the Finance Manager, Marco, who confirms loudly

   enough for the Plaintiff to overhear, that indeed, only a soft credit checks was performed. Jay

   brings the check a short time later and the Durango is ready to drive soon after.




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   487.   The lender Prestige Financial Servicesemier Members Credit Union confirmed the

   Plaintiff was approved for a loan, but the Defendants refused to submit the necessary documents,

   to complete the loan. Auto The Defendants willfully declined to submit the documents as an act

   of disparate treatment against the Plaintiff for being a dark-skinned woman who refused to

   accept the bullying and fraudulent misrepresentations of the multiple men she dealt with.



   498.   Auto The Defendants also did not want to be responsible for paying the warranty for the

   vehicle for the 12 months.



                                         c. Credit Damage
   5049. On or about April 06, 2018 Auto Mart USA, mailed a letter to the Plaintiff indicating her

   credit was not approved by Auto Mart. It also states the Plaintiffs’ application was not submitted

   to other financial sources. It states, in relevant part: “[I]f we checked NO above, that means we

   made the decision on your application without submitting it to another creditor.” The box above

   was in fact checked NO and this letter is signed by Finance Manager, Jay Barbaer of Auto Mart.

   This statement supports the Plaintiff’s version of events, stating Donnie’s multiple advisements

   of the soft credit check.

   501.   On or about April 12th, Plaintiff called Auto Mart USA because multiple letters were

   received from potential credit grantors stating Auto Mart had attempted gaining credit approval

   on behalf of the Plaintiff. At this time, the Plaintiff also noticed hard checks showing on her

   consumer credit report. The Plaintiff spoke with Marco, advising of the multiple soft check




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   promises. Marco denies the Plaintiffs’ claims advising, it is unbelievable that Donnie would say

   it was only a soft check. Marco declines to assist in finding a resolution.

   521.      The Plaintiff calls AUTO the following week and speaks with Donnie, who is willing to

   confirm the use of soft credit checks, verbally, only. When the Plaintiff asks for the soft credit

   check policy to be given to her in writing, Donnie, the Sales Manager, adamantly refuses.

   Donnie then advises the Plaintiff, to get anything in writing, the Plaintiff would need to speak to

   the Finance Manager. Donnie is allowed to speak, but not write. When the Plaintiff asks to speak

   with the Finance Manager, she is put on ‘proverbial hold,’ and hangs up the phone, after about

   20 minutes. This call was recorded.

   532.      By Auto Mart USA’s’ own account, according to the document they sent to the Plaintiff

   on or about April 6th, and on par with the Plaintiff’s version of events, in total, 10 lenders have

   been provided the Plaintiffs’ information, in violation of multiple State and Federal laws, whom

   are:



            2.1.Ally Bank; 2. Premier Members Credit Union; 3. Open Lending LLC (LendPro);
   4.       4. Flagship Credit Acceptance LLC; 5.Pikes Peak Credit Union; 6.Aventa Credit Union;
          7 7. Mountain America Credit Union; 8. Regional Acceptance Corporation;
            9. Prestige Financial Services; 10. Arapahoe Credit Union.


   54.       These lenders were contacted via electronic application submitted by Jorge Pacheco via

   ProMax. ProMax is a reseller of consumer credit reports and auto dealership sales and customer

   relationship management software company, assisting AUTO in its interactions with consumers.

   There are multiple discrepancies in the data Jorge Pacheco entered into ProMax, including the




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   fact that Social Security Number which is stated to be the Plaintiff’s is one digit off, therefore is

   not the Plaintiff’s; yet ProMax allowed the inquiry into the Plaintiff’s consumer credit reports.



   553.   The aforementioned lenders’ hard credit inquiries, have significantly, negatively,

   impacted the Plaintiffs’ credit reports at one or more of the following bureaus: Equifax,

   Experian, TransUnion and SageStream. Unfortunately, the Plaintiff does not have the positive

   effects of a new revolving line of credit, to offset the hard inquires, as Dan, maliciously had the

   contract cancelled.



   564.   In March 2018 the score Experian was reporting the Plaintiffs’ credit score to be at,

   dropped only 2 points in April 2018. In May 2018, the Plaintiffs score takes a dramatic plunge as

   all the hard inquiries catch up to reporting. Currently, the Plaintiffs’ score has dropped about 75

   points, just within the one month. Nothing else in the Plaintiffs’ credit report has changed to

   explain the difference in score. This is because of these unauthorized hard inquires.



                                        d. Unlawful Conduct
   575.   The Plaintiffs’ credit was approved by Premier Members Credit UnionPrestige Financial

   Services for the purchase of the vehicle from AUTO. The Defendants’ denied the credit

   application of the Plaintiff, through their inaction, for reasons outside of business reasons.

   Meanwhile, the Auto Defendants have continued advertising of “[A]sk About Our Credit

   Approval Guaranteed,” in multiple places, permanent places. The Plaintiff was not approved,

   after being promised “guaranteed approval,” via initial phone call.



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   586.   A sign sits permanently on the corner of the entrance onto the Defendants’ business. The

   sign contains the verbiage, “[A]sk About Our Credit Approval Guaranteed.” This sign does not

   contain any disclaimers, notices, asterixis or terms.

   597.   On the envelope given to the Plaintiff upon purchase of the vehicle, the “[A]sk About

   Our Credit Approval Guaranteed,” is also printed and has been so for over 3 years. This sign

   does not contain any disclaimers, notices , asterixis or terms. This envelope is provided to all

   customers who purchase a vehicle.

   6058. The Defendants also consistently promise they are “[D]ealers with a heart,” yet no one

   has treated this Plaintiff with compassion, operated in good faith, or shown the Plaintiff how the

   Auto Mart USA staff on 835 S Havana St, are “[D]ealers with a heart.”

   6159. Upon discovering the mass amount of hard checks against her credit, the Plaintiff has

   made multiple attempts to resolve this dispute with AUTO. Phone calls, letters and personal

   visits have been made, all to no avail, due to the unprofessional, unethical and unlawful conduct

   from the employees and owners of Auto Mart USA located at 835 S Havana St.

   62.    Similarly, when attempting to resolve with ProMax through phone calls, letters, and

   emails; ProMax has declined to take any action, has not responded to Plaintiff’s inquiry; literally

   ignoring the Plaintiff.

   630.   The Plaintiffs’ first resolution attempt was simply requesting the ProMax and Auto

   Defendants to do the right thing, correct the error, by sending a letter to the Credit bureaus,

   requesting the hard inquires to be removed, all the Defendants rejected.




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   641.      Permission was never granted for AUTO to run hard credit inquiries or to permit or

   authorize other lenders to run hard credit inquiries, nor give any authorization for any employee

   or agent to perform credit checks that would be considered hard by the credit bureaus.

   652.      On or about May 18, 2018, the Plaintiff paid firm Riggs Abney, et al., through her Legal

   Shield membership, to send the Auto Defendants a legal letter, asking, simply requesting the

   Defendants to do the right thing, correct the error, by sending a letter to the Credit bureaus,

   requesting the hard inquires to be removed, the Auto Defendants rejected.

   663.      On or about May 21, 2018, Operations Manager, Dan Ramirez (“Dan”), sends a letter,

   willfully and wantonly, inappropriately, back to the firm Riggs Abney, et al., The letter sent from

   Riggs Abney, et al., directs Dan to contact the Plaintiff. Dan purposefully decides to do the

   opposite, as revealed in the Plaintiff’s and Dan’s, soon to come discussion on or about May 29,

   2018, at the physical location, 835 S Havana St. Aurora, CO 80012.

   674.      Within the letter Dan provides to the Plaintiff, on or about May 18, 2018, there is an

   attachment of a purposefully cut-off, credit application. In the letter, Dan states this is where the

   Plaintiff permitted AUTO to run the hard inquiries, yet only contains the disclaimer at the

   bottom. The attachment fails to show any of the Plaintiffs’ personal information, therefore,

   cannot validate the authorization AUTO claims it possess to the Plaintiffs’ consumer credit

   report.

   685.      Dan Ramirez is the Operations Manager and leader AUTO, a business. Dan consciously

   decides to send an antagonistic response, in response to a letter from a professional attorney,

   which communicates Dan’s willful participation in overtly, unethical, unlawful practices; and an

   unwillingness to do the right action. AUTO declined multiple opportunities to prove their actions




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   have been true and correct, yet have chosen not to do so. Dan, seemingly a poor example for the

   employees at Auto Mart USA, on 835 S Havana St.

   696.   Within the letter Dan provides to the Plaintiff, on or about May 18, 2018, Dan also

   directs the Plaintiff to contact AUTO’s legal counsel, but does not provide the name, address,

   email address or phone number, to do so. Another example of the unethical and bad faith conduct

   allowed at Auto Mart USA. Another example of the amount of distain Dan has for the Plaintiff,

   because the Plaintiff is a dark-skinned woman who would not tolerate the deplorable behavior

   exhibited by the salesmen.

   7067. Dan admits, directly to the Plaintiff, nonchalantly in front of employees and customers,

   the cutting of the personal information off, in the response to the letter received by attorneys on

   behalf of the Plaintiff, was a purposeful action, on or about May 29 th. Dan goes on to refuse to

   provide the Plaintiff a copy of this document, this credit application. The Plaintiff was not

   provided a copy of this document on the day the vehicle was purchased. It is unclear if this was

   intentional or due to the salesmen dealing with the warranty issue and saving the sale.

   7168. After receiving the blatantly overt bad faith letter, the Plaintiff called AUTO and spoke

   with Marco, who refuses to provide her a copy of all documentation pertaining to her sale in

   AUTO files and the contact information of legal counsel, per the response from Daniel Ramirez,

   Owner and Registered Agent. Marco advises the Plaintiff she must obtain that information from

   Dan.

   7269. On or about May 29, 2018, the Plaintiff physically goes to the location to obtain copies of

   all her paperwork and legal counsel information for AUTO. Dan willingly creates a scene in

   front of perspective customers, only to continue to refuse the Plaintiffs’ requests for copies of all




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   documentation and legal counsel information. The Plaintiff returns on or about June 07, 2018

   and leaves written notice, requesting her paperwork, with Marco.

   730.   The Plaintiff has been denied copies of her all paperwork, in her file at Auto Mart,

   including a copy of her credit application, multiple times. Additionally, AUTO does not have

   any posted processes surrounding how clients request their records, when, how, what or where.

   There is not any documentation posted online on how to retrieve this information as well.

   74.    Once aware of ProMax’s alleged complicity in October 2019, Plaintiff contacts ProMax,

   as ProMax holds duties to ensure that consumers are protected just as the dealers which utilize

   ProMax’s services to conduct sales of vehicles. Plaintiff created ticket #574933 with ProMax

   concerning the unauthorized inquiries; to which there has been no response. While being aware

   of this action, ProMax colludes with Auto Defendants to destroy evidence within Defendants’

   website; in attempts to deprive the Plaintiff of her rights to have her consumer report protected,

   have correct information reported upon her consumer credit report, and to have errors corrected

   expeditiously.




                                    CAUSES OF ACTION
   751.   Plaintiff re-alleges the preceding paragraphs set forth above and incorporate them herein

   by reference inter alia: (See Complaint for Counts not listed)


          COUNT ONE: SUPPORTING FACTS FOR VIOLATIONS OF FAIR CREDIT
                               REPORTING ACT


     i.   Users of Consumer Reports Violations – Auto Defendants - Plaintiff is
                           Entitled to Exemplary Damages


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   762.   Auto Defendants would be considered users of consumer reports according to 15 U.S.C.

   § 1681m. Auto Defendants have violated:

      a. 15 U.S.C. § 1681m (a) and 15 U.S.C. § 1681r by providing an adverse action written

          notice, dated April 06, 2018, which indicated no outside sources were contacted for

          financing, when they actually were, ten in fact.

      b. 15 U.S.C. §§ 1681m (a)(3)(A) and 1681m (h)(5) by stating to the Colorado Department

          of Revenue Auto Industry Enforcement Division,

                          “[A]uto Mart USA states that they would have been willing to finance you
                 if you were willing to provide a larger down payment, typically 50% or more.
                 They state you were unwilling to provide a larger down payment. We have
                 verified that they do have "in house" lending available so it doesn't appear that
                 this is a violation.”

          Proving the adverse action written notice received is forged, as it does not state the larger

          down payment as the reason for the adverse action, in addition to the fact that Auto

          Defendants AUTO provided the consumer report to ten (Amended Complaint ¶30)

          outside sources for financing.

      c. 15 U.S.C. §§ 1681m (h)(1) and 1681m (h)(5)(A) by failing to ‘[i]nclude a statement

          informing the consumer that the terms offered to the consumer are set based on

          information from a consumer report;” at the time of vehicle purchase, as Plaintiff left

          approved.

          15 U.S.C. § 1681b(a)(2), 1) by failing upon sale and willfully refused post sale, to

          provide the Plaintiff a copy of the Plaintiffs’ credit application/written statement, proving

          the Defendants authorization to perform the hard inquiries against the Plaintiffs’




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            consumer credit report. The Plaintiff requested copies of all documentation and has been

            denied on each of the following occurrences: (1) March 17, 2018; (2) March 20, 2018;

            (3) May 29, 2018; (4) June 01, 2018; and (5) June 07, 2018. 2) The written instructions

            did not include authorization for the Auto Defendants Defendants to run hard inquiries

            against their consumer reports as described.

         d. 15 U.S.C. § 168Ig(a)(I), by and through the acts and practices described herein, Auto

            DefendantsAuto Mart haves violated section 609(a)(I) of the FCRA.

         e. 15 U.S.C. § 1681r by Defendants providing the Plaintiffs’ consumer information to third-

            party lenders, it did so when it did not possess the authorization, under the terms of ‘soft

            inquireschecks,’ and according to the adverse action notice.

         f. Plaintiff has established that in fact, she does possess a consumer report, and in fact the

            Defendants did access that consumer report without legal permissible purposes, on or

            about March 17, 2018. Defendants then unlawfully used the consumer report, and

            provided authorization to ten other lenders (¶52), while implicitly stated, “soft

            inquireschecks,” thereby without statutory permission, as Plaintiff never granted

            permission in accordance with 15 U.S.C. § 1681b(a).

                   ii.   Users of Consumer Reports Violations – ProMax
   77.      ProMax would be considered users of consumer reports according to 15 U.S.C. §§ 1681m

   and 1681h. ProMax has violated:

         g. 15 U.S.C. § 1681m (a) and 15 U.S.C. § 1681r by failing to provide Plaintiff an adverse

            action written notice.




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           h. 15 U.S.C. § 1681b(a)(2), (1) by failing upon sale and willfully refused post sale, to

              provide the Plaintiff a copy of the Plaintiffs’ credit application/written statement, proving

              Auto Defendants’ authorization to perform the hard inquiries against the Plaintiff’s

              consumer credit report. The written instructions did not include authorization for the

              Auto Defendants to run hard inquiries against their consumer reports as described.

           i. 15 U.S.C. § 168Ig(a)(I), by and through the acts and practices described herein, ProMax

              has violated section 609(a)(I) of the FCRA.

           j. 15 U.S.C. § 1681r by Defendants providing the Plaintiffs’ consumer information to third-

              party lenders, it did so when it did not possess the authorization, under the terms of ‘soft

              inquires,’ and according to the adverse action notice.

           k. Plaintiff has established that in fact, she does possess a consumer report, and in fact the

              Defendants did access that consumer report without legal permissible purposes, on or

              about March 17, 2018. Defendants then unlawfully used the consumer report, and

              provided authorization to ten other lenders (¶52), while implicitly stated, “soft inquires,”

              thereby without statutory permission, as Plaintiff never granted permission in accordance

              with 15 U.S.C. § 1681b(a).

           l. Plaintiff’s consumer credit report held a fraud alert, which ProMax failed to verify the

              identity of the Plaintiff, or contact the Plaintiff; in violation of section 605A(h).

      f.


ii.iii.    Furnisher of Information to CRA’s - Auto Defendants - Plaintiff is Entitled
                                    to Exemplary Damages




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   783.     Furnishers of information to CRAs,' have additional requirements as stated in 15 U.S.C. §

   1681s-2(a)(2)(A), because the Defendants “[r]egularly and in the ordinary course of business

   furnishes information to one or more CRA’s about its "transactions or experiences" with

   consumers.” Auto Defendants Mart regularly reports information to other third party CRA’s,

   which are defined as CRA’s in 15 U.S.C. § 1681a(f) and therefore is in violation of 15 U.S.C. §

   1681b(f)(1), as Auto Defendants held not any legal authority under Section 604, violating

   Section 604(a)(3)(A) and Section 604(a)(3)(F)(ii).

   749.     Auto Defendants Auto Mart failed the Plaintiff through inaction, including failure to

   establish and implement reasonable written policies and procedures regarding the accuracy and

   integrity of the information relating to consumers which Auto Defendants’ Auto Mart furnishes

   to other third party CRA’s. Ignoring the guidelines established in appendix E of 12 C.P.R.§

   1022.42.

   8075. Auto Defendants’ Auto Mart’s failure to provide any online applicant a way in which to

   request a copy of the application or the file, is in violation of statutes 15 U.S.C. § 1681s-

   2(a)(2)(A) and 15 U.S.C. § 7001.

   8176. Auto Defendants’ AUTO violates Section 623(a)(2) by failing to correct the incorrect

   inquires on the Plaintiffs’ consumer report, upon identification of the issue. Defendants wait until

   this Complaint is filed to take action, to do the right action.

   8277. Auto Defendants’ AUTO haves therefore obtained the Plaintiff’ss’ consumer information

   under false pretenses and should be fined and imprisoned under title 18, pursuant to 15 U.S.C. §

   1681q.




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   8378. Auto Defendants failed to disclose at consummation of the transaction the required

   disclosures pursuant to 15 U.S. Code § 1681g.



            iv.    Furnisher of Information to CRA’s Violations – ProMax

   84.     Furnishers of information to CRAs,' have additional requirements as stated in 15 U.S.C. §

   1681s-2(a)(2)(A), because the ProMax “[r]egularly and in the ordinary course of business

   furnishes information to one or more CRA’s about its "transactions or experiences" with

   consumers.” ProMax regularly report information to other third party CRA’s, which are defined

   as CRA’s in 15 U.S.C. § 1681a(f) and therefore is in violation of 15 U.S.C. § 1681b(f)(1), as

   Auto Defendants held not any legal authority under Section 604, therefore ProMax held not

   authority, violating Section 604(a)(3)(A) and Section 604(a)(3)(F)(ii).

   85.     ProMax failed the Plaintiff through inaction, including failure to establish and implement

   reasonable written policies and procedures regarding the accuracy and integrity of the

   information relating to consumers which ProMax furnishes to other third party CRA’s. Ignoring

   the guidelines established in appendix E of 12 C.P.R.§ 1022.42. Furthermore, Promax’s inaction

   in the correction of errs makes ProMax complicit in the unlawful actions of their client, AUTO.

   86.     ProMax’s failure to provide any online applicant a way in which to request a copy of the

   application or the file, is in violation of statutes 15 U.S.C. § 1681s-2(a)(2)(A) and 15 U.S.C. §

   7001.

   87.     ProMax violates Section 623(a)(2) by failing to correct the incorrect inquires on the

   Plaintiffs’ consumer report, upon identification of the issue.




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   88.     ProMax’ has therefore obtained the Plaintiff’s consumer information under false

   pretenses and should be fined and imprisoned under title 18, pursuant to 15 U.S.C. § 1681q.

   89.     ProMax failed to provide notice of dispute.

   90. Upon notification of dispute, ProMax has failed to perform a reinvestigation or provide

   notice of dispute to Furnishers and credit reporting agencies.

   91.     ProMax failed the Plaintiff through inaction, including failure to establish and implement

   reasonable written policies and procedures regarding the accuracy and integrity of the

   information relating to consumers which ProMax furnishes to other third party CRA’s. Ignoring

   the guidelines established in appendix E of 12 C.P.R.§ 1022.42.

   92.     ProMax requested the Plaintiffs’ consumer report without permission, thus the request

   was absent legitimate business reason, in violation of 15 U.S.C. § 1681b(a)(3)(F).

   93.     ProMax’s failure to provide any online applicant a way in which to request a copy of the

   application or the file, is in violation of statutes 15 U.S.C. § 1681s-2(a)(2)(A) and 15 U.S.C. §

   7001.




                v.    Consumer Reporting Agency Violations – ProMax
   94.     ProMax is a “consumer reporting agency” as so defined in 15 U.S.C. § 1681a(f).

   95.     ProMax is a “consumer reporting agency that compiles and maintains files on

   consumers on a nationwide basis,” as so defined in 15 U.S.C. § 1681a(p).




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   96.      ProMax regularly assembles and/or evaluates and maintains consumer reports for the

   purpose of furnishing the consumer reports to third parties bearing on a consumer’s credit

   worthiness, credit standing, or credit capacity, each of the following regarding consumers

   residing nationwide: (1) Public record information and (2) Credit account information from

   persons who furnish that information regularly and in the ordinary course of business.

   97.      As AUTO was void of authorization to access the Plaintiff’s consumer credit report,

   ProMax was therefore unauthorized to do so, in violation of § 1681b(f)(1)(2).

   98.      ProMax’s webpage fails to satisfy requirements under § 1681c-1(i)(6).

   99.      ProMax failed to have reasonable procedures to avoid violations in accordance with §

   1681e(a).

   100.     ProMax is void of any method for the Plaintiff to request her information, in violation of

   § 1681g.

   101.     As ProMax is void of disclosure requirements under § 1681g, ProMax has also violated §

   1681h.

   102.     Had ProMax performed an investigation, ProMax would have determined the information

   was inaccurate, incomplete and/or unverifiable, ProMax was to promptly delete the information,

   yet has failed to act in violation of § 1681i(a)(6).

   103.     Upon notification of dispute, ProMax has failed to perform a reinvestigation or provide

   notice of dispute to Furnishers and credit reporting agencies.


            vi.    Reseller of Consumer Credit Reports Violations - ProMax
   104.     ProMax is a “reseller” in accordance with 15 U.S.C. § 1681a(u)(1)(2).




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   105.    ProMax assembled and merged the Plaintiff’s information contained in the database of

   multiple other consumer reporting agencies.

   106.    ProMax assembled this data for the purpose of furnishing that information to third party

   lenders and dealer.

   107.    ProMax does not maintain database of assembled or merged information.

   108.    ProMax did not possess the written instruction of the Plaintiff in violation of §

   1681b(a)(2).

   109.    ProMax does not disclose to consumer reporting agencies the identity of the end-user of

   the report nor the permissible purpose as it did not exist, in violation of § 1681e(e)(1).

   110.    ProMax failed to make certifications and reasonable verification efforts in accordance

   with § 1681e(e)(2)(A)(B).

   111.    Once notified of Plaintiff’s claims, ProMax failed to perform a reinvestigation in

   violation of § 1681i(f)

   112.    Plaintiff’s consumer credit report held a fraud alert, which ProMax failed to verify the

   identity of the Plaintiff, or contact the Plaintiff; in violation of section 605A(h),(f)

   113.    As resellers, ProMax violates section 607(e), through filing to establish reasonable

   procedures to ensure reports were re-sold under permissible purposes.

   114.    As a reseller, ProMax should be listed on the adverse action notice as the CRA.

   Furthermore, as a pass-through CRA, the actual originating CRA must be listed. ProMax is a

   vendor who merges and purges the data, thereby a reseller and then becomes a CRA.


          COUNT TWO: SUPPORTING FACTS FOR VIOLATIONS OF THE
                        TRUTH IN LENDING ACT



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 vii.   Violations of 15 U.S.C. § 1604(b); 12 CFR §§ 226.17(a)(1),(b); 226.17(c)(1)-
            (2) - Auto Defendants - Plaintiff is Entitled to Exemplary Damages

    11579. The Federal Truth in Lending Act, 15 U.S.C. §§ 1601-1667f, as amended, also known as,

    Title I of the Consumer Credit Protection Act;

                   “[t]he Act requires creditors who deal with consumers to make certain written
                   disclosures concerning finance charges and related aspects of credit transactions
                   (including disclosing an annual percentage rate) and comply with other mandates,
                   and requires advertisements to include certain disclosures.”

    11680. The Plaintiff confirmed Auto DefendantsAUTO wereas only submitting soft credit

    checks with Jorge Pacheco, Donnie McElroy and Marco Sandoval, multiple times, each person;

    before during and after the sale. All fail to disclose the true intent. The intent of the credit check

    is not disclosed on the form the Plaintiff was only able to see one time throughout this entire

    situation; when Jorge first presented the 7-field simple, non-formal credit application, on March

    17, 2018. Failing to adhere to the Act’s disclosures requirements.

    11781. By stating terms “soft check” and “[G]uaranteed Credit Approval,” Auto Mart USA

    intentionally lured unsuspecting consumers, just as the Plaintiff, and used their information to

    conduct ‘hard’ inquiries, willfully, wantonly, recklessly, negligently, greedily, and

    unapologetically. As so displayed in the phone call with Sales Manager Donnie, providing direct

    statements of soft credit checks, failing to have the model disclosures required by statute, failing

    to be “[D]ealers with a Heart.”

    11882. By and through acts described in Counts One through Seventeen, Defendants have also

    violated FCRA.

    11983.         These facts were material to the Plaintiff and were ought to have been disclosed in

    equity and good conscience.



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    12084.          The Plaintiff ignorant of Auto Defendants’ fraudulent misrepresentations. The

    Plaintiff relied solely and only on the statements provided. The Plaintiff reverified at each

    opportunity, thus, had no cause to speculate the truth and accuracy of the representations, as

    multiple Managers of Auto Mart USA were involved in the transaction and confirmed the details

    with the Plaintiff.

    12185.          Auto Defendants’ misrepresentations were done so intently, only to induce the

    Plaintiff into purchasing a vehicle from Auto Mart USA. Auto Defendants’ actions resulting in

    the Plaintiffs’ injuries as described herein and damaged in the amount to be proven at trial. Acts

    and practices alleged in all Counts also constitute unfair or deceptive acts or practices in

    violation of section C.R.S. §§ 6-2-102 & 6-2-103.

viii.   Violations of 15 U.S.C. § 1604(b); 12 CFR §§ 226.17(a)(1),(b); 226.17(c)(1)-
                                       (2) - ProMax
    122.     As administrators for AUTO’s website, ProMax is partially responsible for false

    advertisements it allows.

    123.     ProMax has allowed Auto Defendants to use advertisements which contain statements

    regarding credit transactions with Auto Defendants through ProMax, which are known or

    speculated to be false and/or misleading.

    124.     Advertisements posted online by ProMax for AUTO do not contain appropriate

    disclosures.

    125.     Acts and practices alleged in all Counts also constitute unfair or deceptive acts or

    practices in violation of section C.R.S. §§ 6-2-102 & 6-2-103.




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   126.    As a reseller, ProMax should be listed on the adverse action notice as the CRA.

   Furthermore, as a pass-through CRA, the actual originating CRA must be listed. ProMax is a

   vendor who merges and purges the data, thereby a reseller and then becomes a CRA.


              COUNT THREE: SUPPORTING FACTS FOR
     ELECTRONIC SIGNATURES IN GLOBAL AND NATIONAL COMMERCE

          ix.    Violations of 15 § U.S.C. 7001(c) – Auto Defendants - Plaintiff is
                                  Entitled to Exemplary Damages
   127.    Restatement from SAC

                         x.      Violations of 15 § U.S.C. 7001(c) – ProMax
           A. 15 U.S.C. § 7001 puts requirements on all commerce using and storing electronic

                records. In particular 7001 provides:

                a. ((A)the consumer has affirmatively consented to such use and has not withdrawn

                     such consent;

                b.   “the consumer prior to consenting, is provided with a clear and conspicuous

                     statement

                         i. informing the consumer of (I) any right or option of the consumer to have

                              the record provided or made available on paper or in nonelectronic form,

                              and (II) the right of the consumer to withdraw the consent to have the record

                              provided or made available in an electronic form and of any conditions,

                              consequences (which may include termination of the parties’ relationship),

                              or fees in the event of such withdrawal;

                        ii. informing the consumer of whether the consent applies (I) only to the

                              particular transaction which gave rise to the obligation to provide the record,


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                       or (II) to identified categories of records that may be provided or made

                       available during the course of the parties’ relationship;

                   iii. describing the procedures the consumer must use to withdraw consent as

                       provided in clause (i) and to update information needed to contact the

                       consumer electronically; and

                   iv. informing the consumer (I) how, after the consent, the consumer may, upon

                       request, obtain a paper copy of an electronic record, and (II) whether any

                       fee will be charged for such copy;

         B. ProMax authorized Auto Defendants to electronically entered Plaintiff’s information

            in an Application which was on a computer within AUTO.

         C. Auto Defendants then submitted the Plaintiff’s electronic credit Application to ten

            lenders electronically from or within ProMax’s software.

         D. ProMax conducts national commerce.

         E. At no point was Plaintiff provided statements nor were any displayed in conspicuous

            manners.

         F. Plaintiff requested and was never provided copies of her application or all documents

            within her file at ProMax.

         G. ProMax has failed to preserve all written or recorded information in connection with

            the Plaintiff’s application in violation of 12 CFR 1002.12. ProMax does not have the

            original signed consent form. Plaintiff never provided authorization.

         H. By and through acts described, and by failing to (1) Display an notices regarding

            electronic records to consumers and the Plaintiff; (2) display a method of consent and




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             withdrawal; (3) display transaction limitations; (4) display procedure to withdrawal;

             (5) display procedure to obtain a paper copy; (6) display hardware and software

             requirements; (7) grant consumer access to the information, thus violating all sections

             of this statute.

          I. As a result of ProMax’s conduct, Plaintiff has incurred actual damages including but

             not limited to, loss of employment, housing, creditworthiness. Plaintiff has

             experienced inter alia emotional distress, physical injuries, mental anguish including

             humiliation and fear.


       COUNT FOUR: SUPPORTING FACTS FOR THE EQUAL CREDIT
                              OPPORTUNITY ACT
      xi. Violations of 15. U.S.C. § 1691(a)(1) – Auto Defendants - Plaintiff is
                             Entitled to Exemplary Damages
   128.   Restatement from SAC

         COUNT FIVE: SUPPORTING FACTS FOR FRAUDULENT
    MISREPRESENTATION OF THE TERMS AND CONDITIONS OF SALE-
         Auto Defendants - Plaintiff is Entitled to Exemplary Damages

   129.   Restatement from SAC

         COUNT SIX: SUPPORTING FACTS FOR FRAUDULENT
    CONCEALMENT OF MATERIAL FACTS - Auto Defendants - Plaintiff is
                    Entitled to Exemplary Damages

   130.   Restatement from SAC



       COUNT SEVEN: SUPPORTING FACTS FOR VIOLATIONS OF C.R.S.
       § 5-3-110 FRAUDULENT MISREPRESENTATIONS IN ADVERTISING



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    xii.     Violations of C.R.S. § 5-3-110 - Auto Defendants - Plaintiff is Entitled to
                                       Exemplary Damages

   13186. Auto Defendants falsely presented the following statements to Plaintiff and continue to

   present these false statements to hundreds, if not thousands of unsuspecting consumers weekly.

   AUTO willfully advertises these messages knowing them to be inaccurate. Common sense and

   public policy would conclude, a consumer shopping at Auto Mart, will believe Auto Mart will

   provide the consumer with the benefit of, “, [C]redit Approval Guaranteed.,” when, “[A]sk[ed]

   About.” In the case of the Plaintiff, this advertisement is not accurate, the Plaintiff was not

   approved, even considering a lender, Premier Members Credit UnionPrestige Financial Services

   approved the Plaintiff’ss’ credit application submitted via Auto DefendantsAUTO. Even after

   asking and depending on the Guaranteed Approval of Plaintiff’ss’ credit, Plaintiff’s credit was

   not approved..

   132.87.          Defendants have a permanent sign, which resides on the corner of their property.

   The message that is seen by thousands of drivers daily, and was seen by the Plaintiff, prior to

   shopping at AUTO, states, “[A]sk About Our Credit Approval Guaranteed;” caused the Plaintiff

   to inquire about vehicles at Auto Mart USA.

   13388. “[A]sk About Our Credit Approval Guaranteed,” can be seen in multiple locations within

   the physical business location. This message at the entrance of their business, on busy Havana

   Street, on envelopes, cards and fliers, as well as, on the Defendants’ website. The flap of the

   purchase envelope purposely covers the portion of the advertisement that says “[A]sk About

   Our,” but clearly and conspicuously shows the “[C]redit Approval Guaranteed,” proving further

   malicious intent. This ‘Guaranteed’ message is seen by thousands of drivers daily, and was seen



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   by the Plaintiff before contacting AUTO, fails to state not everyone is approved. There are no

   disclaimers on any of the various locations where the message is advertised, advising the

   consumer or the Plaintiff, of this caveat. AUTO’s intent is to lure as many people through the

   doors as possible. The Defendants do not have disclaimers conspicuously posted anywhere, on

   the premises, the sign itself, consumer area on the property, in the sales room or the entire

   website, http://www.denverautomart.com.

   13489. Additionally, almost all of the verbiage contained on the “[A]pprove My Rig,” web page,

   is full of false promises and advertisements, http://www.denverautomart.com/approve-my-

   rig.htm. (1) Approved Sign; (2) “[Y]es you can buy a car regardless of your past;” (3) “, [g]et

   you approved;” (4) “[G]etting approved for that dream car has never been so easy with the best

   special finance team in Colorado;” (5) “[H]ere, we always treat you like family and get you

   approved quick and painless;” (6) “[W]e offer all of our customers the Auto Mart Package,

   including a 90 day, 3,000 mile protection plan, no matter your situation;” and (7) “[C]ome and

   see why we are the most trusted Dealer in Aurora Denver, CO.”

   13590. The verbiage on the “[A]pprove My Rig,” web page, is full of false promises and

   advertisements, for these reasons: (1) the Plaintiff did not get approved and the ‘Approved’ sign

   on the webpage does not contain any conspicuously posted disclaimers or notifications about

   qualification; (2) The Plaintiff was unable to buy a car due to her past, as so indicated by the

   Defendants in the denial letter sent to the Plaintiff on April 06, 2018; (3) the Plaintiff did not get

   approved; (4) the Plaintiff did not get approved for the dream car, thus the finance team cannot

   be special; (5) the Plaintiffs’ experience was painful and the Plaintiff was not approved; (6) the

   Plaintiff was never offered the 90 day, 3,000 mile protection plan; and (7) the Plaintiff does not



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   trust the salesmen at AUTO. All of the statements printed on this public webpage as promises,

   are intentionally false, misrepresentations being sold to countless unsuspecting consumers.

   13691. Auto Defendants intently use the word ‘Guaranteed’ and not ‘Guarantee’ as to falsely

   communicate to all consumers and the Plaintiff that the credit approval is in fact Guaranteed and

   not that AUTO possesses a Guarantee policy.

   13792. Auto Defendants are not “[d]ealers with a heart,” as evident by the actions described

   herein.

   13893.           Restatement of ¶¶ 118-121.82-85.

                         xiii.   Violations of C.R.S. § 5-3-110 – ProMax

   139.      As administrators for AUTO’s website, ProMax is partially responsible for false

   advertisements it allows.

   140.      ProMax has allowed Auto Defendants to use advertisements which contain statements

   regarding credit transactions with Auto Defendants through ProMax, which are known or

   speculated to be false and/or misleading.

   141.      Advertisements posted online by ProMax for AUTO do not contain appropriate

   disclosures.

   142.      Acts and practices alleged in all Counts also constitute unfair or deceptive acts or

   practices in violation of section C.R.S. §§ 6-2-102 & 6-2-103.


    COUNT EIGHT: SUPPORTING FACTS FOR BREACH OF CONTRACT –
      PROMISSORY ESTOPPEL - Auto Defendants - Plaintiff is Entitled to
                        Exemplary Damages



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   145.    Restatement from SAC


    COUNT NINE: SUPPORTING FACTS FOR BREACH OF CONTRACT –
    SELLER’S RIGHT TO CANCEL - Auto Defendants - Plaintiff is Entitled to
                        Exemplary Damages

   146.    Restatement from SAC

             COUNT TEN: UNFAIR PRACTICES ACT - Auto Defendants

   147.    Dismissed

           COUNT ELEVEN: SUPPORTING FACTS FOR OUTRAGEOUS
                                    CONDUCT
          xiv. Auto Defendants - Plaintiff is Entitled to Exemplary Damages

   148.    Restatement from SAC


                                            xv.     ProMax
   149.    Other reasonable Users, Furnishers, Reporting Agencies and Resellers of consumer credit

   reports would have acted in accordance with Federal Laws; yet ProMax ignores Plaintiff’s pleas

   for assistance.

   150.    By and through allowing their client to make promises which are unlawful, ProMax is

   complicit and likewise responsible for Plaintiff’s injuries.

   151.    Once notified of Plaintiff’s claims, ProMax has allowed Auto Defendants to make

   changes to their website, destruction of evidence.

   152.    As a result of ProMax’s outrageous conduct, Plaintiff has incurred actual damages

   including but not limited to, loss of employment, housing, creditworthiness. Plaintiff has




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   experienced inter alia emotional distress, physical injuries, mental anguish including humiliation

   and fear.


        COUNT TWELVE: SUPPORTING FACTS FOR DECEPTIVE TRADE
                                      PRACTICES
    xvi. Violations of C.R.S. § 6-1-105(1)(e),(i),(n),(l),(r),(u)- Auto Defendants -
                       Plaintiff is Entitled to Exemplary Damages

   153. Not only did Auto Mart mislead and misrepresent their intentions to the Plaintiff with the
   aforementioned sign, additionally, online, the Plaintiff inquired about a Mitsubishi Outlander.
   The Plaintiff called Auto Defendants prior to travelling to the car lot, verifying the vehicle was
   still available. At not point online or in call or in text, did any represented of AUTO inform Ms.
   Grays the title to the vehicle she inquired about was salvaged. Not until the Plaintiff had arrived
   on premises provided all documentation and had her credit run, did Jorge inform her of the
   situation. Individual Auto Defendants are knew or should have known that when a consumer
   “Ask[ed] About Our Guaranteed Credit Approval” and/or “Ask[ed] about our Credit Approval
   Guaranteed,” there was not a guarantee.

                xvii.     C.R.S. § 6-1-105(1)(e),(i),(n),(l),(r),(u)- ProMax
   154.   By and through ProMax failing to ensure it’s client complied with Federal and State Law,

   ProMax has engaged in deceptive practices, through complicity.


        COUNT THIRTEEN: SUPPORTING FACTS FOR DISPARATE
    TREATMENT – Violations of C.R.S. § 5-3-210 - Auto Defendants - Plaintiff is
                     Entitled to Exemplary Damages

   155.   Restatement from SAC

     COUNT FOURTEEN: SUPPORTING FACTS RIGHTOF RECISSIONAS
      TO CERTAIN TRANSACTIONS – Violations of U.S.C. § 1635(a) - Auto
            Defendants - Plaintiff is Entitled to Exemplary Damages

   156.   Restatement from SAC



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         COUNT FIFTEEN: SUPPORTING FACTS FOR NEGLIGENT
     MISREPRESENTATIONS OF THE TERMS AND CONDITIONS OF SALE
       AND PROMISES- Auto Defendants - Plaintiff is Entitled to Exemplary
                               Damages

    157.    Restatement from SAC



        COUNT SIXTEEN: SUPPORTING FACTS FOR VIOLATIONS OF
      COLORADO UNIFORM COMMERICERIAL CODE: C.R.S. § 4-5-109(a)
      AND C.R.S. § 4-1-304: THROUGH FRAUDULENT CONCEALMENT OF
         MATERIAL FACTS; MISREPRESENTATIONS OF TERM AND
       CONDITIONS OF SALE; NEGLIGENT MISREPRESENTATIONS OF
      THE TERMS AND CONDITIONS; ENGAGING IN DECEPTIVE ACTS;
      THEREBY VIOLATING OBLIGATION TO GOOD-FAITH; DENYING
        RIGHT TO EQUAL CREDIT OPPORTUNITY; AND FAILING TO
              PROVIDE ACCESS TO COPIES OF DOCUMENTS.

 i.xviii.   Violations of C.R.S. § 4-5-109(a)-, Fraud & Forgery - Auto Defendants -
                           Plaintiff is Entitled to Exemplary Damages

    15894. Pursuant to C.R.S. § 4-5-109(a),

                   “[I]f a presentation is made that appears on its face strictly to comply with the
                   terms and conditions of the letter of credit, but a required document is forged or
                   materially fraudulent, or honor of the presentation would facilitate a material
                   fraud by the beneficiary on the issuer or applicant:”


    15995. Auto Defendants exhibited multiple deceptive and fraudulent actions throughout the sales

    process, return process and every interaction with the Plaintiff since. AUTO denied the credit

    application of the Plaintiff, all the while, one of the ten lenders actually approved the Plaintiffs’

    application. Defendants have a permanent sign, which resides at the entrance of their business,



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   on busy Havana Street. The message that is seen by thousands of drivers daily, and that was seen

   by the Plaintiff, states, “[A]sk About Our Credit Approval Guaranteed.” This was not only

   deceptive, but unfair.

   16096. “[A]sk About Our Credit Approval Guaranteed,” can be seen in multiple locations within

   the physical business location, on envelopes, cards and fliers, as well as, on Auto the

   Defendants’ website. There are no disclaimers on any of the various locations, advising the

   consumer or the Plaintiff that their credit may not be accepted. The intent is to lure as many

   people through the doors as possible.

   16197. The Plaintiff was lured before stepping foot onto the AUTO location, 835 S Havana St,

   Aurora, CO 80012. Auto The Defendants knowingly listed a vehicle online that had salvaged

   title, which prompted the Plaintiff to contact the business. Barring the ad for the salvaged title

   and having “[A]sk[ed] About Our Credit Approval Guaranteed,” the Plaintiff would have never

   contacted Auto Mart USA.

   16298. Two possibly three salesmen made contact with the Plaintiff, prior to the Plaintiff

   travelling to AUTO, and willfully omitted legally required to disclose salvage information, in

   violation of 16 CFR 455.1(a)(1). Common sense states when the Plaintiff stated the vehicle of

   interest, the salesmen would have located the vehicle for two reasons: (1) ensuring the vehicle

   had not been sold and (2) ensuring vehicle was eligible for sale.

   16398. Upon arriving at the location, Jorge did not disclose the salvaged title immediately. Jorge

   deceptively waited until the Plaintiffs’ personal information from check stubs, bank records,

   current auto loan and utility bill, had been entered into AUTO’s system, before disclosing the

   salvaged title, in violation of 16 CFR 455.1(a)(2)-(3).


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   16400. Jorge promised the Plaintiff a 17-month warranty on the 2013 Dodge Journey. Once

   Jorge realized the 2013 Dodge Journey did not have a warranty, instead of the salesman acting in

   good faith, in accordance with law, Jorge acts deceptively, by failing to promptly disclose the

   change in terms of agreement, as the contract was formed on this promise. Jorge has the Plaintiff

   continue signing all other paperwork and pawns the removal of the warranty, from the contract,

   to the Finance Manager, Marco Sandoval.

   16501. Marco exhibits the same behavior and attempts to force the Plaintiff into signing

   documentation which opposes the statement of warranty. Once the warranty has been re-

   confirmed by Steve (Manager), Marco goes on to deny the Plaintiff the right of everything in

   writing. Marco does not want to write the 12-month warranty, to which AUTO is the responsible

   party, on the Plaintiffs’ document entitled, ‘You Owe, We Owe.’ Marco relents after several

   minutes of stern rebuttals from the Plaintiff.

   16602. Throughout the sale, the return of the vehicle, the pickup of funds and since, the Plaintiff

   has confirmed with multiple representatives of AUTO, only soft credit checks were run. The

   Plaintiff relied heavily upon this promise, as she did not want her credit impaired. On several

   different days, the same statement can be heard, soft credit checks. The Plaintiff recorded a call

   with Sales Manager, Donnie, in which Donnie states, multiple times, soft credit check. When the

   Plaintiff requests to have the soft credit check policy in writing, Donnie states he cannot put

   anything in writing. Anything in writing, needs to come from the Finance Manager. Plaintiff asks

   for the Finance Manager, after around twenty minutes of holding, the Plaintiff ends the call.

   Multiple Managers of a business being unwilling to make the same statement in writing, proves

   the knowledge the verbal statement is inaccurate.




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   16703. Checking ‘NO’ on the adverse action letter of denial sent to the Plaintiff on or about

   April 06, 2018, the Defendants’ intentionally intended to continue deceptively communicating

   their use of the Plaintiffs’ consumer credit report. The decision to mark ‘NO’ was also made, to

   intentionally support the fictitious soft credit check statements, by multiple licensed salesmen of

   Auto Mart.

   16804. Auto Defendants fail to provide the Plaintiff a copy of the Window Form, upon

   completion of the sale, in violation of 16 CFR 455.3(a), thereby in violation of 16 CFR 455.3(b).

   16905.          Restatement of ¶¶ 118-12182-85.

          xix.    Violations of C.R.S. § 4-5-109(a) - Fraud & Forgery – ProMax

   170.     ProMax’s failure to ensure messages communicated through their system were true,

   appropriate representations of property and terms of the transaction; therefore ProMax has

   committed fraud.


          xx.    Violations of C.R.S. § 4-1-304 - , Obligation of Good Faith - Auto
                     Defendants - Plaintiff is Entitled to Exemplary Damages

   171.     Other reasonable automobile dealers within the state of Colorado could not operate a

   business within the color of the law, and operate in the same manner as the Auto Mart USA

   operated with the Plaintiff in this case. Auto Defendants started the transaction in bad faith with

   the understanding of communicating deceitful messages to consumers, absent good faith.

   172.     By and through acts described in all Counts and Paragraphs, Auto Defendants have failed

   to act in good-faith.




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      xxi.      Violations of C.R.S. § 4-1-304, Obligation of Good Faith – ProMax

                                                 iii.

    17306. Other reasonable automobile dealers within the state of Colorado could not operate a

    business within the color of the law, and operate in the same manner as the Defendants, Auto

    Mart USA operated with the Plaintiff in this case.Users, Furnishers, Reporting Agencies and

    Resellers of consumer credit reports would have acted in accordance with Federal Laws; yet

    ProMax ignores Plaintiff’s pleas for assistance.

    174.     By and through allowing their client to make promises which are unlawful, ProMax is

    complicit and likewise responsible for Plaintiff’s injuries.

    175.     Once notified of Plaintiff’s claims, ProMax has allowed Auto Defendants to make

    changes to their website, destruction of evidence.

    176.     Thereby, ProMax has conducted actions in bad-faith The Defendants started the

    transaction in bad faith with the understanding of communicating deceitful messages to

    consumers, absent good faith.

    17707. By and through acts described in all Counts and Paragraphs, Auto Defendants have failed

    to act in good-faith.

                   COUNT SEVENTEEN: SUPPORTING FACTS FOR
                                 UNCONSCIONABILITY
   xxii.     Violations of C.R.S. § 5-5-109 - Auto Defendants - Plaintiff is Entitled to
                                       Exemplary Damages
    178.     Restatement from SAC

                      xxiii.    Violations of C.R.S. § 5-5-109 – ProMax



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   179.     ProMax’s conduct in failing to ensure conformity with laws is unconscionable; putting

   millions of potential consumers at risk, including named Plaintiff, causing Plaintiff’s injuries.

   180.     ProMax’s intentional inaction is unconscionable.



            COUNT EIGHTEEN: SUPPORTING FACTS FOR BREACH OF
                                FIDUCIARY DUTY
          xxiv. Auto Defendants - Plaintiff is Entitled to Exemplary Damages
   181.     Restatement from SAC

                                          xxv.      ProMax
   182.     As Users, Furnishers, Resellers, and in being a Consumer Reporting Agency, ProMax

   held many duties outlined by law, which were willfully and negligently breached.

   183.     ProMax was acting as a Fiduciary to the Plaintiff with regards to her consumer credit

   report and the consumer credit transaction with Auto Defendants; whom are clients of ProMax.

   184.     ProMax regularly engages in trade, both nationally and by interstate and therefore hold

   duties outlined by law.

   185.     As a result of ProMax breach of fiduciary duties, Plaintiff has incurred actual damages

   including but not limited to, loss of employment, housing, creditworthiness. Plaintiff has

   experienced inter alia emotional distress, physical injuries, mental anguish including humiliation

   and fear.

   186.     The aforementioned injuries, losses and damages of the Plaintiff were caused by

   ProMax’s breach of fiduciary duties.



               COUNT NINETEEN: SUPPORTING FACTS NEGLIGENCE


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          xxvi.   Auto Defendants - Plaintiff is Entitled to Exemplary Damages
   187.     Restatement from SAC

                                         xxvii.     ProMax
   188.     As Users, Furnishers, Resellers, and in being a Consumer Reporting Agency, ProMax

   held many duties outlined by law, which were willfully and negligently breached.

   189.     ProMax was acting as a Fiduciary to the Plaintiff with regards to her consumer credit

   report and the consumer credit transaction with Auto Defendants; whom are clients of ProMax.

   190.     ProMax regularly engages in trade, both nationally and by interstate and therefore hold

   duties outlined by law.

   191.     As a result of ProMax’s negligence, Plaintiff has incurred actual damages including but

   not limited to, loss of employment, housing, creditworthiness. Plaintiff has experienced inter alia

   emotional distress, physical injuries, mental anguish including humiliation and fear.

   192.     The aforementioned injuries, losses and damages of the Plaintiff were caused by

   ProMax’s negligence.


     COUNT TWENTY: SUPPORTING FACTS FOR VIOLATIONS OF PART
                          B – CREDIT TRANSACTIONS
    xxviii. Violations of 15 § U.S.C. 1638(a)(1) 1638(b)(1)– Auto Defendants -
                        Plaintiff is Entitled to Exemplary Damages

                       15 § U.S.C. 1638(a)(1) 1638(b)(1) PART B – CREDIT
                                        TRANSACTIONS
   193.08.         Auto Defendants failed to accurately identify the tensix creditors the Plaintiffs’

   fictitious authorization intently misrepresented to the creditors by the AUTO representative.

   Auto Defendants held not the authority to pass the Plaintiff’ss’ consumer information to any




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   creditors. Further, Auto Defendants website did not contain any disclosures and did not correctly

   reflect the terms of the legal obligations of each party. AUTO now claims internal financing

   approved, yet did not state any estimate of obligation, in any disclosure posted on the website.



             COUNT TWENTY-ONE: SUPPORTING FACTS PRESERVING
                     EVIDENCE OF GOODS IN DISPUTE

                       xxix.     Violations of C.R.S. § 4-2-515 – ProMax
   194.      ProMax permits dozens of changes to Auto Defendants’ website while having knowledge

   of Plaintiff’s claims; failing to preserve verifiable copies.

   195.      ProMax fails to retain lending, creditor, and all other documents pertaining to Plaintiff’s

   claims.

   196.      Therefore, ProMax has purposefully destroyed and/or negligently allowed the destruction

   of evidence.


                                    E. REQUESTS FOR RELIEF

   Plaintiff prays the court will grant relief as follows for, inter alia: credit damage; damage to

   reputation; loss of affection; pain and suffering; mental and emotional distress; loss of time; Past,

   present, and future medical bills; Hedonic damages; increased risk of harm; past and future pain

   and suffering. past and future lost income, wages, and earnings. The Fair Credit Reporting Act

   also provides civil liability for violations of the Act’s provisions.15 U.S.C. §1681n(a)(2)(3);

   allowing the Court to have full discretion on the discipline to which the Defendants’ will be held.

   Defendants have been willfully negligent in their duties and should be penalized according to 15




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   U.S.C. § 1681o(a)(1)(2). As a direct result of ProMax and Auto Defendants’ unlawful actions

   outlined above, inter alia:


   WHEREFORE, Plaintiff requests jury trial on all claims so triable and judgment as follows:


      (1) Pursuant to C.R.S. 5-5-206. Civil Liability for Discrimination, provide damages of

          $100,000;

      (2) Award actual damages to the Plaintiff in accordance with 15 U.S.C. § 1681n(a)(1)(B); 15

          U.S.C. § 1691e(a); 15 U.S.C. §§ 1640(a)(1) and 1640(a)(2)(i);

      (3) Award punitive damages to Plaintiff in accordance with 15 U.S.C. § 1681n(a)(2); 15

          U.S.C. § 1691e(b);

      (4) Award Plaintiffs’ costs and attorney’s fees in accordance with 15 U.S.C. §§ 1681n(a)(3)

          and 1681o(a)(2); 15 U.S.C. § 1691e(d); C.R.S. § 5-5-206 and C.R.S. § 4-5-

          111(c)(d)(e)(f);

      (5) All statutory damages awarded to the Plaintiff;

      (6) Maximum pre and post judgement interest awarded on all allowable damages for the

          Plaintiff;

      (7) Special damages awarded to the Plaintiff;

      (8) Order Auto Defendants to pay the United States of America back for the costs of this

          action;

      (9) Notify the Federal Trade Commission to seek prosecution for the willful violations as

          outlined in C.R.S. § 5-5-301(3)(4) and 15 U.S.C. § 45(a);




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      (10)      Declare Auto Mart USA’s practices unconscionable, provide injunctive relief and

         in accordance with C.R.S.§ 5-6-113, an accurate accounting of all the deceptive, illegal

         activities which may or may not be being conducted on the premises at Auto Mart USA.

         Temporarily enjoin Auto Mart USA from conducting any sales of automobiles, until the

         legality of their business operation, can be confirmed by the Colorado Attorney General

         or other State agencies as Law allows;

      (11)      In accordance with 15 U.S.C.§ 1640, statutory damages of 3 times the amount of

         any average loss to be determined by jury at trial, for the TILA violations;

      (12)      Declare Auto Defendants to have breached the terms and conditions of the

         contracts and provide injunctive relief on behalf of Plaintiff who so desires:

             a. Defendant will send a letter to each CRA;

                      i. Experian; &

                     ii. Transunion; &

                     iii. Equifax; &

                     iv. SageStream; &

                     v. Innovis;

             b. Within letter, request each hard inquiry that was authorized illegally be removed;

             c. A copy of each correspondence will be sent to the Plaintiff;

             d. AUTO will repeat efforts, until all fraudulent hard inquiries are removed from all

                consumer credit reports;

      (13)      Award actual and punitive damages to Plaintiff, due to multiple breaches of

         contract;



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      (14)      Award actual and consequential damages liberally pursuant to C.R.S. §§ 6-1-101

         et. seq., 6-1-113, C.R.S. § 4-1-305 and C.R.S. § 4-2-715;

      (15)      Pursuant to 15 U.S.C. § 2310(d), remedies are allowed for breach of warranties;

      (16)      Restitution of all fees paid to credit repair company fees, within 1 year of this

         complaint.

      (17)      Disgorgement of the ill-gotten gains received from the bad-faith, fraudulent

         behavior;

      (18)      All statutory damages according to proof;

      (19)      Punish Defendants under title 18 in accordance with, 15 U.S.C. § 1681q, with

         imprisonment and fines;

      (20)      In accordance with C.R.S. § 5-5-109(6) provide damages in addition to all other

         remedies to the Plaintiff;

      (21)      Award treble damages in accordance with C.R.S § 6-1-113(2)(a)(III), (2.3);

      (22)      Other relief the Court finds appropriate awarded to the Plaintiff.




                                                                            /s/ Tiffany Grays, pro se


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